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18
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19
                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
20
                                     WESTERN DIVISION
21
      UNITED STATES OF AMERICA ex                  No. CV 11-08214 PJW
22    rel. KARIN BERNTSEN,
23               Plaintiff,
                                                   AMENDED COMPLAINT IN
24                      v.                         INTERVENTION AND DEMAND OF
                                                   THE UNITED STATES FOR JURY
25    PRIME HEALTHCARE SERVICES,                   TRIAL
      INC.; PREM REDDY, M.D.; PRIME
26    HEALTHCARE FOUNDATION,
      INC., F/K/A PHSI FOUNDATION,
27    INC., F/K/A PRIME HEALTHCARE
      SERVICES FOUNDATION, INC;
28    PRIME HEALTHCARE
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 1    MANAGEMENT, INC., F/K/A PRIME
      MANAGEMENT SERVICES, INC.;
 2    ALVARADO HOSPITAL, LLC;
      PRIME HEALTHCARE SERVICES
 3    GARDEN GROVE, LLC; PRIME
      HEALTHCARE HUNTINGTON
 4    BEACH, LLC; PRIME
      HEALTHCARE LA PALMA, LLC;
 5    DESERT VALLEY HOSPITAL, INC.;
      PRIME HEALTHCARE SERVICES
 6    ENCINO, LLC; VERITAS HEALTH
      SERVICES, INC.; PRIME
 7    HEALTHCARE SERVICES
      MONTCLAIR LLC; PRIME
 8    HEALTHCARE PARADISE
      VALLEY, LLC; PRIME
 9    HEALTHCARE SERVICES SAN
      DIMAS, LLC; PRIME HEALTHCARE
10    SERVICES SHASTA, LLC; PRIME
      HEALTHCARE ANAHEIM, LLC;
11    PRIME HEALTHCARE CENTINELA,
      LLC; PRIME HEALTHCARE
12    SERVICES SHERMAN OAKS, LLC
13               Defendants.
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 1          Plaintiff United States of America, on behalf of the United States Department of
 2    Health & Human Services, alleges as follows:
 3                            I.     SUMMARY OF THE ACTION
 4          1.     This is an action for treble damages and civil penalties under the False
 5    Claims Act, 31 U.S.C. §§ 3729 – 3732, and damages under the common law.
 6          2.     The Prime healthcare system is comprised of a variety of private corporate
 7    entities that are owned and controlled by defendant Prem Reddy, M.D. (Reddy) and/or
 8    trusts established for the benefit of Reddy and his family, including defendant Prime
 9    Healthcare Services, Inc. (PHS), defendant Prime Healthcare Foundation, Inc., f/k/a
10    PHSI Foundation, Inc., f/k/a Prime Healthcare Services Foundation, Inc. (Foundation),
11    defendant Prime Healthcare Management, Inc., f/k/a Prime Management Services, Inc.
12    (Management Company), and individual hospitals throughout the United States. PHS is
13    a for-profit California corporation founded by Reddy in or around 2001. The Foundation
14    is a not-for-profit California corporation founded by Reddy in or around 2007. Both
15    entities are incorporated in Delaware and located at 3300 East Guasti Road, Ontario,
16    California, 91761. At all times relevant to this action, Reddy was the Chairman,
17    President, and Chief Executive Officer of PHS and the Foundation. The Management
18    Company is a for-profit California corporation founded by Reddy in or around 2004.
19    Like PHS and the Foundation, it is incorporated in Delaware and located at 3300 East
20    Guasti Road, Ontario, California, 91761. At all times relevant to this action, Reddy was
21    the President of the Management Company, which provides management, consulting,
22    and support services to hospitals owned and operated by PHS and the Foundation. PHS,
23    the Foundation, and the Management Company are referred to, collectively, as Prime.
24    Reddy and Prime own and operate 14 general acute-care hospitals in communities
25    throughout California, each of which is also a defendant in this action. These 14
26    hospitals are referred to, collectively, as the Defendant Hospitals. Reddy, Prime, and the
27    Defendant Hospitals are referred to, collectively, as Defendants.
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 1          3.     Prime’s business model is to buy distressed hospitals and make them
 2    profitable. Prime tells the public that it accomplishes these turnarounds by “investing
 3    tens of millions of dollars on capital improvements . . . , maintaining emergency
 4    departments . . . that are open and accessible to all members of the community, including
 5    the uninsured and indigent, [and] implementing, with the support and assistance of the
 6    independent medical staff, proven clinical protocols which improve the quality of care
 7    received by all patients.”
 8          4.     But from 2006 through September 30, 2013, Defendants engaged in a
 9    systematic practice of maximizing revenues by, among other things, inducing physicians
10    who work at Prime hospitals to increase the number of inpatient care admissions of
11    Medicare beneficiaries who visit the Emergency Department (ED) at a Prime hospital,
12    without regard to whether inpatient admission is medically necessary.
13          5.     Inpatient care generally refers to any medical service that requires
14    admission into a hospital and tends to be directed towards more serious ailments and
15    trauma that require one or more days of overnight stay at a hospital.
16          6.     In order to be payable by Medicare, an item or service must be “reasonable
17    and necessary” in accordance with federal law and Medicare policy. If a hospital
18    inpatient admission is not reasonable and necessary, then the admission is not payable
19    under Medicare Part A. For example, if a beneficiary could appropriately be treated in
20    the ED on an outpatient basis, then the inpatient admission is neither reasonable and
21    necessary nor payable under Medicare Part A.
22          7.     Observation services are appropriate when a Medicare beneficiary presents
23    to the ED with symptoms whose treatment or monitoring requires more time to assess
24    than the typical ED visit. Observation is used to help the physician decide whether the
25    patient needs to be admitted or can be discharged. Medicare reimburses for observation
26    services as outpatient services, even if the patient stays in the hospital overnight. As
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 1    with inpatient admission, observation services must be reasonable and necessary for
 2    treatment of the patient’s medical condition in order to be reimbursed by Medicare.
 3          8.     When a Prime hospital admits a beneficiary as an inpatient who should have
 4    received the same treatment at a lower level of care, Medicare pays Prime approximately
 5    three to four times the reimbursement amount the hospital would have received had it
 6    billed for the services rendered to the beneficiary at the appropriate level of care.
 7          9.     When a Prime hospital admits a beneficiary as an inpatient when admission
 8    was not medically necessary, and provides medically unnecessary inpatient services,
 9    Medicare pays for care that was not reasonable and necessary and, therefore, not eligible
10    for reimbursement.
11          10.    More than 50 million people are enrolled in Medicare. There are 4,700
12    inpatient hospital facilities enrolled as Medicare providers. In 2012, Medicare paid
13    hospitals $119 billion for inpatient services and $46 billion for outpatient services.
14    MedPAC Report to the Congress: Medicare Payment Policy, March 2015, p. 53, Table
15    3-1. The sheer magnitude of the Medicare program requires Medicare to trust hospitals
16    and doctors to prioritize the needs and well-being of beneficiaries, rather than their own
17    financial self-interest, in making treatment decisions, including decisions regarding
18    inpatient admission versus hospital outpatient treatment.
19          11.    Prime’s management, led by Reddy, developed and implemented practices
20    and procedures that violate that trust and instead induce ED doctors to admit Medicare
21    beneficiaries as inpatients whose signs, symptoms and treatment needs should have been
22    appropriately managed as outpatients receiving observation services or even in the ED.
23          12.    These practices and procedures include:
24                 (a)     Removing “observation” as an option from the admission forms
25                         utilized by emergency room physicians and that had previously been
26                         used at hospitals prior to their acquisition by Prime;
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 1                 (b)   Imposing quotas and goals for admission of patients from the ED
 2                       and, specifically, of Medicare beneficiaries;
 3                 (c)   Deploying CEOs of hospitals, Chief Medical Officers and ED
 4                       Medical Directors to question individual ED physicians regarding
 5                       their decision to discharge specific patients and threaten that they
 6                       would find themselves “off the schedule” if they did not increase
 7                       their rate of admissions;
 8                 (d)   Telling ED physicians that any insured patient expected to be in the
 9                       ED for more than two hours should be admitted as an inpatient, while
10                       an uninsured patient may be kept in the ED for many hours and then
11                       discharged;
12                 (e)   Supplying unwitting Prime physicians with versions of admission
13                       criteria that are published by a third party and relied upon in hospitals
14                       nationwide that Prime had altered to make more permissive of
15                       inpatient admission but which Prime represented as the original
16                       criteria.
17          13.    Some Prime physicians and staff members protested these practices and
18    procedures and then quit or had their positions terminated by Defendants. Others
19    acquiesced to protect their livelihoods.
20          14.    As a result of these practices and procedures, Defendants have claimed and
21    received millions of dollars in inflated reimbursements for medically unnecessary
22    inpatient admissions. In so doing, Defendants have burdened the finite resources of the
23    Medicare program and put their own pecuniary interests ahead of the interests of
24    Medicare.
25                             II.     JURISDICTION AND VENUE
26          15.    This Court has subject matter jurisdiction over this action pursuant to 28
27    U.S.C. § 1345 because the United States is the Plaintiff. In addition, the Court has
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 1    subject matter jurisdiction over the FCA cause of action under 28 U.S.C. § 1331 and
 2    supplemental jurisdiction to entertain the common law and equitable causes of action
 3    under 28 U.S.C. §1367(a).
 4          16.    This Court has personal jurisdiction over Defendants pursuant to 31 U.S.C.
 5    § 3732(a) because at least one of the Defendants can be found in, resides in, transacts
 6    business in and has committed the alleged acts in the Central District of California.
 7          17.    Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)-(c) and 31
 8    U.S.C. § 3732(a) because at least one of the Defendants can be found in, resides in and
 9    transacts business in the Central District of California, and many of the alleged acts
10    occurred in this District.
11                                          III.   PARTIES
12          18.    Plaintiff in this action is the United States of America, suing on behalf of
13    the United States Department of Health & Human Services (“HHS”) and, specifically, its
14    operating division, the Centers for Medicare & Medicaid Services (“CMS”). At all times
15    relevant to this Complaint, CMS was an operating division of HHS that administered and
16    supervised the Medicare program.
17          19.    The qui tam plaintiff (“Relator”) is Karin Berntsen, a registered nurse who
18    was employed at Defendant Alvarado Hospital when Prime acquired it in November
19    2010. Relator remains employed there and has served as the Director of Quality and
20    Risk Management, the Director of Case Management, and most recently as the Director
21    of Performance Improvement. Relator initiated this action by filing a complaint against
22    Defendants, among others, under the qui tam provisions of the False Claims Act, 31
23    U.S.C. §3730(b)(1).
24          20.    At all times mentioned herein, PHS was and now is a Delaware for-profit
25    corporation with its principal place of business in Ontario, California. PHS was founded
26    in 2001 by Reddy, a cardiologist by training who is primarily responsible for directing
27    the activities of PHS, its subsidiaries and its affiliated entities. The Foundation is an
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 1    entity affiliated with Reddy and PHS. PHS has transferred ownership to the Foundation
 2    of certain hospitals that it owned. The Foundation currently owns and operates four
 3    acute care hospitals in California that are part of the Prime healthcare system. Through
 4    wholly-owned subsidiaries, Prime now owns or operates the 14 Defendant Hospitals in
 5    the state of California. The 14 Defendant Hospitals, their operating entities, principal
 6    places of business, and acquisition dates are as follows:
 7                 (a)   Desert Valley Hospital, operated by Desert Valley Hospital, Inc.,
 8                       located at 16850 Bear Valley Road, Victorville, California, and
 9                       acquired by PHS on or about January 1, 2001;
10                 (b)   Chino Valley Medical Center, operated by Veritas Health Services,
11                       Inc., located at 5451 Walnut Avenue, Chino, California, and acquired
12                       by PHS on or about November 1, 2004;
13                 (c)   Sherman Oaks Hospital, Prime HealthCare Services - Sherman Oaks,
14                       LLC, located at 4929 Van Nuys Boulevard, Sherman Oaks,
15                       California, owned and operated by the Foundation, and acquired by
16                       PHS on or about February 1, 2006 and donated to the Foundation on
17                       or about January 1, 2012;
18                 (d)   Paradise Valley Hospital, operated by Prime Healthcare Paradise
19                       Valley, LLC, located at 2400 East 4th Street in National City,
20                       California, and acquired by PHS on or about March 1, 2006;
21                 (e)   Montclair Hospital Medical Center, Prime HealthCare Services -
22                       Montclair, LLC, located at 5000 San Bernardino Street, Montclair,
23                       California, owned and operated by the Foundation and acquired by
24                       PHS on or about July 1, 2006, and donated to the Foundation on or
25                       about December 31, 2010;
26                 (f)   Huntington Beach Hospital, Prime Healthcare Huntington Beach,
27                       LLC, located at 17772 Beach Boulevard, Huntington Beach,
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 1                     California, owned and operated by the Foundation, and originally
 2                     acquired by PHS on or about September 30, 2006 and donated to the
 3                     Foundation on or about January 1, 2013;
 4               (g)   West Anaheim Medical Center, operated by Prime Healthcare
 5                     Anaheim, LLC, located at 3033 West Orange Avenue, Anaheim,
 6                     California, and acquired by PHS on or about September 30, 2006;
 7               (h)   La Palma Intercommunity Hospital, operated by Prime Healthcare La
 8                     Palma, LLC, located at 7901 Walker Street, La Palma, California,
 9                     and acquired by PHS on or about September 30, 2006, and donated to
10                     the Foundation on or about January 2015;
11               (i)   Centinela Hospital Medical Center, operated by Prime Healthcare
12                     Centinela, LLC, located at 555 East Hardy Street, Inglewood, CA,
13                     and acquired by PHS on or about October 31, 2007;
14               (j)   Garden Grove Medical Center, operated by Prime HealthCare
15                     Services-Garden Grove, LLC, located at 12601 Garden Grove
16                     Boulevard, Garden Grove, California, and acquired by PHS on or
17                     about June 1, 2008;
18               (k)   San Dimas Community Hospital, operated by Prime HealthCare
19                     Services - San Dimas, LLC, located at 1350 West Covina Boulevard,
20                     San Dimas, California, and acquired by PHS on or about June 1,
21                     2008;
22               (l)   Encino Hospital Medical Center, Prime Healthcare Services Encino,
23                     LLC, located at 16237 Ventura Boulevard, Encino, California, owned
24                     and operated by the Foundation and originally acquired by PHS on or
25                     about June 1, 2008 and donated to the Foundation in 2009;
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 1                (m)    Shasta Regional Medical Center, operated by Prime Healthcare
 2                       Services Shasta, LLC, located at 1100 Butte Street, Redding,
 3                       California, and acquired by PHS on or about October 31, 2008; and
 4                (n)    Alvarado Hospital Medical Center, operated by Alvarado Hospital,
 5                       LLC, located at 6655 Alvarado Road, San Diego, California, and
 6                       acquired by PHS on or about November 17, 2010.
 7          21.   Reddy, Prime’s founder, Chairman, President, and Chief Executive Officer,
 8    has his primary residence at 14868 Riverside Drive, Apple Valley, California 92307-
 9    4821, in San Bernardino County, and has his principal place of business at Prime’s
10    corporate headquarters located at 3300 East Guasti Road, Ontario, California, 91761.
11                                       IV.    THE LAW
12                                     The False Claims Act
13          22.   The False Claims Act, 31 U.S.C. §§ 3729-3733 (FCA), provides for the
14    award of treble damages and civil penalties for, inter alia, knowingly causing the
15    submission of false or fraudulent claims for payment to the United States Government.
16          23.   The FCA provides, in pertinent part:
17                (a) LIABILITY FOR CERTAIN ACTS.—
                      (1) IN GENERAL.—Subject to paragraph (2), any person
18                    who—
19                        (A) knowingly presents, or causes to be presented, a false
                          or fraudulent claim for payment or approval;
20                        (B) knowingly makes, uses, or causes to be made or used,
                          a false record or statement material to a false or
21                        fraudulent claim; . . . or
22                        (G) knowingly makes, uses, or causes to be made or
                          used, a false record or statement material to an obligation
23                        to pay or transmit money or property to the Government,
                          or knowingly conceals or knowingly and improperly
24                        avoids or decreases an obligation to pay to transmit
                          money or property to the Government ,
25
                         is liable to the United States Government for a civil
26                       penalty of not less than $5,000 and not more than
                         $10,000, as adjusted by the Federal Civil Penalties
27                       Inflation Adjustment Act of 1990 (28 U.S.C. 2461 note;
                         Public Law 104-410), plus 3 times the amount of
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 1                       damages which the Government sustains because of the
                         act of that person.
 2                                           ***
                   (b) DEFINITIONS.—For purposes of this section—
 3
                      (1) the terms “knowingly” and “knowingly”—
 4                       (A) mean that a person, with respect to information—
 5                           (i) has actual knowledge of the information;
                             (ii) acts in deliberate ignorance of the truth or falsity
 6                           of the information; or
 7                           (iii) acts in reckless disregard of the truth or falsity of
                             the information; and
 8                       (B) require no proof of specific intent to defraud . . . .
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      31 U.S.C. § 3729 (as amended May 20, 2009).
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            24.    Prior to amendments to the FCA pursuant to Public Law 1111-21, the Fraud
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      Enforcement and Recovery Act (FERA), effective May 20, 2009, the FCA provided, in
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      pertinent part:
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                   (a) Any person who—
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                        (1) knowingly presents, or causes to be presented, to an
15                      officer or employee of the United States Government or a
                        member of the Armed Forces of the United States a false or
16                      fraudulent claim for payment or approval;
                        (2) knowingly makes, uses, or causes to be made or used, a
17                      false record or statement to get a false or fraudulent claim
                        paid or approved by the Government; . . . or
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                        (7) knowingly makes, uses, or causes to be made or used, a
19                      false record or statement to conceal, avoid, or decrease an
                        obligation to pay or transmit money or property to the
20                      Government,
21                      is liable to the United States Government for a civil penalty
                        of not less than $5,000 and not more than $10,000, plus
22                      three times the amount of damages which the Government
                        sustains because of the act of that person . . . .
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                                           ***
24                 (b) KNOWING AND KNOWINGLY DEFINED.—For purposes of this
                   section, the terms “knowing” and “knowingly” mean that a
25                 person, with respect to information—
26                      (1) has actual knowledge of the information;
27                      (2) acts in deliberate ignorance of the truth or falsity of the
                        information; or
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 1                     (3) acts in reckless disregard of the truth or falsity of the
                       information, and no proof of specific intent to defraud is
 2                     required.
 3    31 U.S.C. § 3729 (as amended October 27, 1986).
 4           25.    Section 4(f) of FERA provides that the 2009 amendments to the FCA “shall
 5    take effect on the date of enactment of this Act and shall apply to conduct on or after the
 6    date of enactment, except that . . . subparagraph (B) of section 3729(a)(1) of title 31,
 7    United States Code, as added by subsection (a)(1), shall take effect as if enacted on June
 8    7, 2008, and apply to all claims under the False Claims Act (31 U.S.C. 3729 et seq.) that
 9    are pending on or after that date . . . .”
10           26.    Pursuant to the Federal Civil Penalties Inflation Adjustment Act of 1990, as
11    amended by the Debt Collection Improvement Act of 1996, 28 U.S.C. § 2461 (notes),
12    and 64 Fed. Reg. 47099, *47103 (1999), the civil penalties were adjusted to $5,500 to
13    $11,000 for violations occurring on or after September 29, 1999.
14                               V.     THE MEDICARE PROGRAM
15           27.    Enacted in 1965, Title XVIII of the Social Security Act, 42 U.S.C. § 1395,
16    et seq., establishes the Health Insurance for the Aged and Disabled Program, commonly
17    known as the Medicare Program or, simply Medicare.
18           28.    The Medicare Program is comprised of four parts: Part A which provides
19    Hospital Insurance Benefits, Part B which provides Medical Insurance Benefits, Part C
20    which establishes Medicare Advantage (or managed care) plans, and Part D which
21    provides for Prescription Drug Benefits. Relevant to this complaint are Parts A and B.
22    Medicare Part A is a 100 percent federally-funded health insurance program for qualified
23    individuals aged 65 and older, younger people with qualifying disabilities, and people
24    with End Stage Renal Disease (permanent kidney failure requiring dialysis or
25    transplant). See 42 U.S.C. §§ 426, 426A. The majority of Medicare Part A’s costs are
26    paid by United States citizens through their payroll taxes. The benefits covered by
27    Medicare Part A include inpatient hospital care and other institutional care, including
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 1    skilled nursing facility and home health care services. See 42 U.S.C. §§ 1395c –1395i-5.
 2    Medicare Part B establishes a voluntary supplemental insurance program that pays for
 3    various medical and other health services and supplies, including physician services,
 4    physical, occupational, and speech therapy services and hospital outpatient services. See
 5    42 U.S.C. §§ 1395k, 1395m, 1395x.
 6          29.    Most hospitals, including all of the Defendant Hospitals, derive a
 7    substantial portion of their revenue from the Medicare Program.
 8          30.    Medicare is administered by the Centers for Medicare & Medicaid Services
 9    (CMS). At all times relevant to this complaint, CMS contracted with private contractors
10    referred to as “fiscal intermediaries,” “carriers,” and “Medicare Administrative
11    Contractors,” to act as agents in reviewing and paying claims submitted by healthcare
12    providers. Payments are made with federal funds. See 42 U.S.C. § 1395h; 42 C.F.R. §§
13    421.3, 421.100.
14          31.    To participate in the Medicare program, health care providers enter into
15    provider agreements with the Secretary of HHS. 42 U.S.C. § 1395cc. The provider
16    agreement requires the provider to agree to conform to all applicable statutory and
17    regulatory requirements for reimbursement from Medicare, including the provisions of
18    Section 1862 of the Social Security Act and Title 42 of the Code of Federal Regulations.
19    As part of that agreement, the provider must sign the following certification:
20          I agree to abide by the Medicare laws, regulations and program instructions
            that apply to [me]. The Medicare laws, regulations, and program
21          instructions are available through the [Medicare] contractor. I understand
            that payment of a claim by Medicare is conditioned upon the claim and the
22          underlying transaction complying with such laws, regulations, and program
            instructions (including, but not limited to, the Federal anti-kickback statute
23          and the Stark law), and on the [provider’s] compliance with all applicable
            conditions of participation in Medicare.
24
25    Form CMS-855A; Form CMS-8551.
26          32.    Among the legal obligations of participating providers is the requirement
27    not to make false statements or misrepresentations of material facts concerning payment
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 1    requests. See 42 U.S.C. § 1320a-7b(a)(1)-(2); 42 C.F.R. §§ 1320a-7b(a)(1)-(2),
 2    413.24(f)(4)(iv).
 3          33.    Medicare reimburses only services that are “reasonable and necessary for
 4    the diagnosis or treatment of illness or injury . . . .” 42 U.S.C. § 1395y(a)(1)(A). In
 5    submitting claims for payment to Medicare, providers must certify that the information
 6    on the claim form presents an accurate description of the services rendered and that the
 7    services were reasonably and medically necessary for the patient.
 8          34.    Federal law provides that it is the obligation of the provider of health care
 9    services to ensure that services provided to Medicare beneficiaries are “provided
10    economically and only when, and to the extent, medically necessary[,]” and are
11    “[s]upported by evidence of medical necessity.” 42 U.S.C. § 1320c-5(a)(1), (3).
12          35.    Acute care hospital inpatient services are reimbursed under the Inpatient
13    Prospective Payment System (“IPPS”) by Medicare Part A. This is a system developed
14    for Medicare to classify inpatient hospital cases into one of 538 Diagnostic Related
15    Groups (“DRGs”), which were expected to have similar hospital resource use. DRGs
16    have been used since 1983 to determine how much Medicare pays the hospital, since
17    patients within each category are similar clinically and are expected to consume a similar
18    level of hospital resources. A payment rate is established for each DRG. In 2007,
19    Medicare adopted a refinement of the DRG system, called the Medicare Severity DRGs
20    (MS-DRGs), which expanded the number of DRGs to 745 and made other refinements.
21    Hereafter, DRGs and MS-DRGs will be collectively referred to as DRGs for clarity.
22          36.    Hospital outpatient services, including care rendered in a hospital ED, or
23    when a beneficiary receives “observation” services, are reimbursed under the hospital
24    Outpatient Prospective Payment System (OPPS) by Medicare Part B. All outpatient
25    services are classified into groups called Ambulatory Payment Classifications (APCs).
26    Services in each APC are similar clinically and in terms of the resources that they
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 1    require. A payment rate is established for each APC. Depending on the services
 2    provided, hospitals may be paid for more than one APC per patient encounter.
 3          37.    Medicare classifies observation services as a type of hospital outpatient
 4    care. Observation services help the physician determine the cause of a patient’s
 5    symptoms in order to decide if the patient needs to be admitted as an inpatient or can be
 6    discharged. Typically observation services are ordered for patients who present to the
 7    ED and who require a significant period of treatment or monitoring in order to inform a
 8    decision by physicians concerning their admission or discharge. Observation services
 9    include short term treatment, assessment, and reassessment provided while a decision is
10    being made about discharge or admission. A patient may receive observation services in
11    an ED, a dedicated observation unit, or in any bed in the hospital. A patient receiving
12    observation services receives all nursing, medical care, diagnostic tests (e.g., laboratory
13    tests, x-rays and other radiological tests), therapy, and prescriptions ordered by her
14    physician, as well as a bed and food for the duration of her stay. Medicare expects that a
15    decision whether to discharge a patient receiving observation services or admit her as an
16    inpatient will occur in less than 48 hours, and usually in less than 24 hours. See CMS
17    Publication 100-02, Medicare Benefit Policy Manual, Ch. 6, § 20.6 (Rev. 189).
18          38.    At all times pertinent to this complaint, observation services were billed as a
19    time-based service, with the minimum period of observation that was reimbursable being
20    eight hours. From January 1, 2006 through December 31, 2007, Medicare reimbursed
21    hospitals a separate APC payment for outpatient observation services involving three
22    specific conditions: chest pain, asthma, and congestive heart failure. Payments for
23    observation services provided to beneficiaries with other conditions were packaged into
24    the payments for those patients’ ED visits. See CMS Publication 100-04, Medicare
25    Claims Processing Manual, Ch. 4, §§ 290.1, 290.4.3. (Rev. 787).
26          39.    On January 1, 2008, Medicare removed the limitation of diagnoses eligible
27    for an additional payment for observation. Since 2008, hospitals may bill a composite
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                                                   13
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 1    APC for extended assessment and management of any patient who receives observation
 2    services for eight or more hours who had an ED visit the day that observation services
 3    began or the previous day. See CMS Publication 100-04, Medicare Claims Processing
 4    Manual, Ch. 4 § 290.5.1 (Rev. 787).
 5           40.   Medicare reimburses hospitals for surgical procedures on either an inpatient
 6    or an outpatient basis, depending on whether the patient has been formally admitted as
 7    an inpatient (and subject to medical necessity review). Medicare designates certain
 8    procedures as payable only when performed on an inpatient basis. Medicare’s rationale
 9    for designating certain procedures as “inpatient only” is that either the nature of the
10    procedure, the typical underlying physical condition of patients who require the
11    procedure, or the need for at least 24 hours of postoperative recovery time or monitoring
12    before the patient can be safely discharged dictates that Medicare payment is appropriate
13    only if the service is furnished on an inpatient basis. See CMS Publication 100-04,
14    Medicare Claims Processing Manual, Ch. 4 §180.7 (Rev. 787). These procedures are
15    called “inpatient only” procedures. CMS publishes a list of “inpatient only” procedures
16    annually. All other Medicare-covered procedures may be provided - and paid by
17    Medicare - on either an inpatient or an outpatient basis, depending upon the individual
18    patient’s clinical condition and reaction to the surgery, including any complications that
19    occur. An individualized assessment of the patient’s condition must be made instead of
20    routinely admitting all patients who have a certain procedure not listed on the inpatient
21    only list.
22           41.   Medicare guidance directs hospitals to not bill for routine observation
23    following all outpatient surgery, as a period of postoperative monitoring during a
24    standard recovery period (e.g., 4-6 hours) is included in Medicare reimbursement for
25    outpatient surgery. See CMS Publication 100-04, Medicare Claims Processing Manual,
26    Ch. 4 §290.2.2 (Rev. 787).
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 1            42.   The Medicare Program Integrity Manual instructs FIs and MACs that in
 2    order for a claim for inpatient care to be payable:
 3            Review of the medical record must indicate that inpatient hospital care was
              medically necessary, reasonable, and appropriate for the diagnosis and
 4            condition of the beneficiary at any time during the stay. The beneficiary must
              demonstrate signs and/or symptoms severe enough to warrant the need for
 5            medical care and must receive services of such intensity that they can be
              furnished safely and effectively only on an inpatient basis.
 6
 7    CMS Publication 100-08, Medicare Program Integrity Manual, Ch. 6 § 6.5.2 (Rev.
 8    656).
 9            43.   Medicare defines an inpatient as a person who has been formally admitted
10    to a hospital by a physician for the purpose of receiving inpatient services. CMS
11    Publication 100-02, Medicare Benefit Policy Manual, Ch. 1, § 10 (Rev. 189).
12            44.   The physician decides whether to admit the patient as an inpatient and, if so,
13    when to do so. The Medicare guidance in effect during the time period at issue in this
14    complaint advised physicians to “use a 24-hour period as a benchmark, i.e., they should
15    order admission for patients who are expected to need hospital care for 24 hours or more,
16    and treat other patients on an outpatient basis.” Id.
17            45.   CMS recognizes that the decision whether to admit a patient is made by the
18    physician who should consider a number of relevant factors, including the patient’s
19    medical history, current medical needs,
20            “The severity of the signs and symptoms exhibited by the patient;
              “The medical predictability of something adverse happening to the patient;
21            “The need for diagnostic studies that appropriately are outpatient services
                    (i.e., their performance does not ordinarily require the patient to
22                  remain at the hospital for 24 hour or more) to assist in assessing
                    whether the patient should be admitted; and
23            “The availability of diagnostic procedures at the time when and the location
                    where the patient presents.”
24    Id.
25            46.   Additionally, the Manual provides guidance regarding the proper
26    classification of patients having minor surgeries or other treatments, as follows:
27            “Minor Surgery or Other Treatment – When patients with known diagnoses
              enter a hospital for a specific minor surgical procedure or other treatment that is
28            expected to keep them in the hospital for only a few hours (less than 24), they are
                                                     15
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 1          considered outpatients for coverage purposes regardless of the hour they came to
            the hospital, whether they used a bed, and whether they remained in the hospital
 2          past midnight.”
      Id.
 3
            47.    Following the discharge of a Medicare beneficiary from a hospital, the
 4
      hospital submits a patient-specific claim for interim reimbursement for items and
 5
      services furnished to the beneficiary during his or her hospital stay. 42 C.F.R. §§413.1,
 6
      413.60, 413.64. Hospitals submit claims on Form CMS-1450, also called Form UB-04.
 7
      Claims for inpatient services are submitted to Medicare Part A. Claims for observation
 8
      and other outpatient services, including ED visits and outpatient surgery, are submitted
 9
      to Medicare Part B.
10
                                VI.    FACTUAL ALLEGATIONS
11
            A.     Defendants Adopted Policies and Practices Designed to Increase
12                 Inpatient Admissions Without Regard to Medical Necessity.
13
            48.    Reddy, Prime and the Defendant Hospitals acted with actual knowledge,
14
      deliberate ignorance or reckless disregard of the laws, regulations and guidance
15
      applicable to the federal healthcare programs by developing and implementing a
16
      business model premised on policies and practices designed to increase inpatient
17
      admissions of Medicare beneficiaries to Defendant Hospitals without regard to medical
18
      need. These policies and practices were adopted for Defendants’ financial gain rather
19
      than clinical reasons and included: 1) discouraging the use of, or even eliminating,
20
      observation services; 2) setting aggressive quotas to pressure ED physicians to admit
21
      more patients; 3) criticizing and penalizing ED physicians who did not fall in line with
22
      the Prime business model; and 4) misrepresenting Prime’s admission criteria forms as
23
      industry-accepted Milliman Care Guidelines. Prime’s policies and procedures led to the
24
      submission of false or fraudulent claims for inpatient medical services.
25
            49.    Prime’s strategy was evident in Reddy’s insistence that Prime physicians
26
      and staff consider the insurance status of a patient when deciding whether or not to
27
      admit, which prioritized the financial goals of Prime over the clinical needs of the
28
                                                  16
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 1    patient. In November 2008, for example, during a meeting with ED physicians, Reddy
 2    directed physicians to consider a patient’s insurance information before providing
 3    services. On other occasions, Reddy instructed ED physicians to consider whether a
 4    patient was a Medicare or Medi-Cal beneficiary before deciding which services the
 5    hospital would provide.
 6                 1.    Defendants Implemented a “No Observation” Policy.
 7                       a.     Prime Sought to Prevent the Use of Observation Services
 8                              Because the Reimbursement Is Less Than It Would Be For
                                Providing the Same Services to an Inpatient.
 9
10          50.    Prime, acting through Reddy and others, acted purposefully to eliminate the
11    use of observation at Defendant Hospitals.
12          51.    For example, upon acquiring a hospital, Prime, acting through Reddy and
13    others, would inform physicians and staff that the hospital would no longer use
14    observation for Medicare beneficiaries or other insured patients. The purpose of this
15    policy was to increase admissions by turning ED patients into inpatients when they
16    should have been treated right there and released or provided observation services.
17    Prime repeatedly told hospital executives, physicians, nursing supervisors, case
18    managers, clinical documentation specialists and other staff that the Defendant Hospitals
19    did not provide observation services, and that patients for whom such services should
20    have been appropriate were to be made inpatients.
21          52.    Upon acquisition, Prime also replaced existing order forms used by both ED
22    and attending physicians with standard order forms used in all Prime hospitals. Prime’s
23    order forms did not provide a check box option for observation services and had the
24    effect of discouraging physicians from ordering observation for patients in circumstances
25    where they otherwise would have. On one occasion, when Reddy discovered that order
26    forms were still in use that included a check box for observation, he directed that the
27    option for observation be immediately removed.
28
                                                   17
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 1          53.    As is generally the case at hospitals in the United States, Prime ED
 2    physicians did not have admitting privileges or had limited privileges. ED physicians at
 3    the Defendant Hospitals usually had to contact an attending physician or hospitalist - a
 4    doctor specializing in the care of hospitalized patients - who would admit the patient.
 5    Within a short period of time after Prime acquired a hospital, most admissions from the
 6    ED were made by hospitalists working under contract to Defendants. Defendants
 7    pressured the hospitalists to accept all admission recommendations from ED physicians,
 8    instead of requiring that a patient be placed in observation to determine whether an
 9    inpatient admission was necessary.
10          54.    The “no observation” policy was communicated to ED physicians and
11    hospitalists in meetings with Reddy and other Prime executives and employees, via
12    multiple separate conversations with Reddy and other Prime executives, and through
13    transmission of this information from ED and hospitalist Medical Directors to individual
14    ED physicians and hospitalists.
15          55.    At Garden Grove Hospital, for example, Reddy instructed physicians not to
16    use observation because, according to Reddy, the hospital was not licensed for
17    observation beds. Reddy told them this despite knowing, as did others at Prime, that
18    observation services can be provided in any duly licensed hospital bed: a dedicated
19    observation bed is not required by Medicare.
20          56.    And when Prime acquired Alvarado Hospital, Relator Berntsen was the
21    Director of Case Management. Case managers are nurses who, among other things,
22    review patient medical records to assist physicians and hospitals with determining
23    whether inpatient admission or outpatient/observation services are appropriate. Relator
24    raised concerns to management at Alvarado Hospital about the marked decrease in use of
25    observation services at Alvarado that followed Prime’s acquisition of the hospital. She
26    was told by Prime executives that she and her case managers should no longer review
27    Medicare admissions to assess whether the patients met inpatient criteria.
28
                                                  18
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 1          57.    Another example of the implementation of Prime’s “no observation” policy
 2    is a July 6, 2012, meeting of case managers from multiple Prime hospitals. There, Ajith
 3    Kumar, Prime’s Vice President of Reimbursement, claimed that Prime hospitals can
 4    provide observation services but do not provide them to Medicare beneficiaries because
 5    all, or almost all, Medicare beneficiaries satisfy the criteria for inpatient admission.
 6                        b.     Prime Directed ER Physicians to Admit Insured Patients If
                                 They Would Be In the ER More Than Two Hours.
 7
 8          58.    The “no observation” policy went hand-in-hand with a policy of directing
 9    ED physicians to admit insured patients from the ED if their evaluation or treatment
10    would take longer than two hours.
11          59.    The two-hour rule or guideline applied only to insured patients. ED
12    physicians were told to keep uninsured patients in the ED far longer in an effort to avoid
13    the cost to the hospital of an uninsured inpatient admission.
14          60.    In telling ED physicians that Prime does not provide observation services
15    and instructing them that insured patients should be admitted as inpatients after only two
16    hours, Prime encroached upon the physicians’ medical judgment and discretion about
17    how to treat patients and caused medically unnecessary admissions.
18                        c.     The “No Observation” Policy Worked: Billings to Medicare
19                               Plummeted After Prime Acquired a Hospital.

20          61.    Medicare claims statistics show a dramatic before-and-after shift in billings
21    for observation services at hospitals Prime acquired.
22          62.    As noted above, observation services were billed as a time-based service.
23    Over and over, after Prime acquired a hospital, that hospital’s billings to Medicare for
24    observation service hours dropped, quarter to quarter, by hundreds or even thousands of
25    hours. At many hospitals, including but not limited to, La Palma Intercommunity
26    Hospital, Garden Grove Medical Center, Paradise Valley Hospital, West Anaheim
27
28
                                                   19
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 1    Medical Center, and Huntington Beach Hospital, billings for observation service hours
 2    plummeted to almost zero.
 3          63.    The decreases in billings for observation hours were matched by increases
 4    in claims for inpatient admissions relative to the hospitals’ historical statistics.
 5                 2.     Defendants Set Aggressive Quotas for Inpatient Admissions of
                          Insured Patients, Including Medicare Beneficiaries.
 6
 7          64.    Beginning in or before 2007, Reddy and Prime introduced arbitrary
 8    admission benchmarks or quotas that Defendant Hospitals should admit as inpatients 20
 9    to 30% of the insured patients who presented to the ED. The setting of such a target
10    violates a fundamental principle of the Medicare program: namely, that treatment
11    decisions, including the decision to admit inpatients, should be based upon beneficiaries’
12    clinical needs and that only services that are reasonable and medically necessary to meet
13    those needs are reimbursable by Medicare.
14          65.    Reddy, Prime and the Defendant Hospitals knew that setting an arbitrary
15    quota for the percentage of ED patients that should be admitted as inpatients would
16    result in medically unnecessary admissions of Medicare beneficiaries. And Prime’s
17    quota had a discernable effect on the admission practices at Defendant Hospitals.
18    Inpatient admissions of Medicare beneficiaries increased dramatically after Prime
19    acquired a hospital and instituted a 20 to 30% admission quota. Prime’s admission
20    quotas caused the Defendant Hospitals to seek Medicare Part A reimbursements for
21    inpatient admissions where the necessary services should have been provided as
22    observation services.
23          66.    In addition to causing the Medicare program to pay millions of dollars for
24    unnecessary inpatient stays, these unnecessary admissions needlessly exposed Medicare
25    beneficiaries to the dangers inherent in any hospital stay, including but not limited to
26    medical errors and hospital-acquired infections.
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                                                    20
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 1                       a.    Reddy Personally Communicated the Quotas to ED Physicians,
                               and They Got the Message.
 2
 3          67.   Shortly after Prime acquired a new hospital, Reddy routinely scheduled
 4    mandatory meetings in order to “educate” ED physicians about Prime’s new ED policies
 5    and procedures.
 6          68.   During these initial meetings, Reddy delivered the same edict to all
 7    physicians: increase inpatient admissions of insured patients to 20 to 30% of the ED
 8    census and cut back on admissions of the uninsured to under 5% of the ED census.
 9          69.   At these meetings, Reddy routinely and specifically discussed with ED
10    physicians the higher Medicare reimbursements associated with an inpatient admission
11    in comparison to treatment in the ED or observation services for the same condition.
12    Physicians who attended these meetings with Reddy believed that his intention was to
13    pressure ED physicians to alter their clinical judgment in favor of admitting Medicare
14    beneficiaries to the hospital to increase Medicare reimbursements to Prime.
15          70.   Reddy’s message to admit Medicare beneficiaries was received, loud and
16    clear, by Prime physicians. For example, an ED Director at Encino Hospital jokingly
17    commented to other ED Directors in an email that he was “getting a little worried that
18    the average age of my docs at Encino is just about Medicare range. If I’m truly
19    following the Prime model, I should be admitting all simply for setting foot in the ED.”
20          71.   Reddy knew it was improper to apply pressure to admit. In or around late
21    2008, after Prime acquired Defendant Shasta Regional Medical Center, Reddy met with
22    ED physicians there and told them that Shasta’s historical rate of admitting 17-18% of
23    ED patients was not good enough. Reddy instructed the ED physicians to increase their
24    admission rate. When the rates did not increase enough, Reddy met with the hospital’s
25    ED Director and told him that the rate needed to increase to 25 to 30%. The ED Director
26    proposed to draft an email to the ED physicians to memorialize the 25 to 30% quota for
27    inpatient admission. Reddy immediately admonished the ED Director in the presence of
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 1    another physician, warning that if the ED Director put that in writing Prime could be
 2    sued.
 3            72.   Despite such attempts by Reddy to prevent anyone from reducing Prime’s
 4    arbitrary ED admission quotas to writing, the quotas were communicated to ED
 5    physicians through email communications, during ED meetings and in regular ED
 6    reports distributed to management at all Defendant Hospitals.
 7                        b.    Prime Used Admission Statistics to Monitor and Enforce
                                Compliance with the Quotas.
 8
 9            73.   Reddy, Prime and ED Directors routinely reviewed ED admission statistics
10    to assess compliance with Prime’s admission quotas. Admissions of Medicare
11    beneficiaries was one of the statistics that Prime tracked and reviewed.
12            74.   In or before 2007, Prime’s Vice President of Nursing and Clinical
13    Operations was responsible for creating weekly, monthly and yearly ED statistical
14    reports, referred to as “report cards” or “Prime Healthcare Services Emergency
15    Dashboards.”
16            75.   The hospital report cards contained data on the number of patients admitted
17    from the ED for that week/month, the number of admissions to the Intensive Care Unit,
18    the number of uninsured admissions, and the total percentage of ED patients who were
19    admitted as inpatients for each Prime hospital.
20            76.   Reddy personally reviewed the hospital report cards before their circulation
21    to Prime management and hospital ED Directors.
22            77.   Reddy and Prime management used the hospital report cards as a tool to
23    monitor whether the Defendant Hospitals were meeting Prime’s admission quotas. If a
24    hospital’s admission percentages fell below the target, Reddy would alert hospital
25    management and arrange a meeting with the ED Director and/or the ED physicians who
26    were perceived as not complying with Prime’s admission policies.
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 1          78.    The hospital report cards categorized hospitals that were meeting Prime’s
 2    admission quota of 20-30% by highlighting the hospital in yellow as “best practices.”
 3    For any hospital that fell below Prime’s admission quota, the report card highlighted it in
 4    red and categorized it as “needs improvement.”
 5          79.    For example, Defendants Montclair Hospital Medical Center and Desert
 6    Valley Hospital admitted roughly 17% of their ED census in February 2007 and were
 7    highlighted in red and categorized as “needs improvement.”
 8          80.    Hospitals with high admission percentages were praised. For example,
 9    according to the February 2007 hospital report card, Defendant Sherman Oaks Hospital
10    admitted 27.9% of its ED census and was highlighted in yellow and categorized as
11    having “best practices.” ED physicians saw that Reddy and Prime were not satisfied
12    unless a hospital’s admission rate reached 25-30% of its ED Census. For example,
13    Defendants Huntington Beach Hospital, La Palma Intercommunity Hospital and West
14    Anaheim Medical Center admitted approximately 21-23.8% of their ED census in
15    February 2007. Prime did not recognize their admission percentage as falling within the
16    “best practices” category.
17                       c.        ED Directors and Physicians Felt Pressure to Increase
                                   Admissions to Meet Defendants’ Quotas.
18
19          81.    Internal communications reveal that ED directors and physicians responded
20    to Defendants’ efforts to pressure them to admit more insured patients and fewer
21    uninsured ones. In October 2008, for example, an ED director emailed physicians at
22    Defendant Encino Hospital to thank them for their hard work in increasing admissions
23    through the ED. “We are maintaining an appropriately high admissions percentage in
24    line with the expectations of Prime Healthcare.” (Emphasis added).
25          82.    Similarly, in an email to an ED physician at Defendant Encino Hospital in
26    July 2009, the ED Director urged the physician to help increase admissions. The ED
27    Director stated that, “month to date we are at our lowest admission percentage for the
28
                                                   23
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 1    last 3 years. We are currently admitting only 15% of our patients. While my review of
 2    the daily ED logs indicate that we’re clearly doing the right things for our patients,
 3    please understand that this is going to stand out to our administration. Please keep in
 4    mind the Prime mindset. Push admissions as necessary and have a low threshold for
 5    admission for any insured patient (even Medi-Cal).” (Emphasis added).
 6          83.    In response to the above quoted email from Defendant Encino Hospital’s
 7    ED Director, an ED physician pointed out that the ED’s admission percentage would be
 8    higher, but “there’s all those uninsured ones who would otherwise be admitted given
 9    their diagnosis but are held due to insurance status.”
10          84.     Another example of ED directors and physicians responding to the pressure
11    to admit is seen in a November 11, 2009, email that the ED Director sent to physicians
12    upon learning that admitting percentages dropped below Prime’s expectations at
13    Defendant San Dimas Community Hospital. The ED Director reminded the physicians
14    of Prime’s admission goals: “[W]e need to show that we are moving in the right
15    direction to stay out of the firing line. Our admission percentage is down the past few
16    weeks…. I know this is a pain in the ass, but it’s the way it is and if we actually CAN get
17    close to their goal we’ll make more $$.” (Emphasis added).
18          85.    Similarly, in an August 13, 2010 email, an ED Director noted “[o]ur
19    admission percentage is slipping and we run the risk of increased scrutiny by Dr.
20    Reddy.” And ED physicians at Defendant San Dimas Community Hospital received an
21    email in September 2010 alerting them that “[o]ur % admissions is down and our
22    number of transfers is up and Dr. Reddy [is] aware of it and [is] starting to make noises
23    to admin and then to me.”
24          86.    In May 2010, when Defendant Chino Valley Medical Center’s monthly
25    report card indicated a drop in admissions compared to the previous years’ statistics, the
26    ED Director advised ED physicians that Reddy was not pleased and issued an edict via
27
28
                                                   24
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 1    e-mail to “raise admissions by a couple of percentage points,” to which another ED
 2    Director responded that “they will begin the process tomorrow.”
 3                       d.     Prime Even Monitored and Reported Admission Rates of
                                Individual ED Physicians.
 4
 5           87.   To ensure that each individual ED physician was doing his or her part to
 6    increase admissions, Prime and the Defendant Hospitals tracked ED physician
 7    performance and productivity through various reports that focused on admission
 8    percentages and average length of stay and ranked the physicians using such non-clinical
 9    criteria.
10           88.   These reports were routinely circulated not only to ED physicians but also
11    to executives and staff at Prime hospitals.
12           89.   In 2008, for example, Defendant Chino Valley Medical Center presented a
13    Physician Analysis Report that tracked ED physician admissions and a Top Ten
14    Physician Report to the hospital’s Medical Executive Committee.
15           90.   And in 2010, for example, Defendant Chino Valley Medical Center
16    circulated a report called ED Physician Matrix to ED physicians, requesting that they
17    review their statistics, especially those physicians who fell below the admitting average
18    of 17%.
19                 3.    Reddy Personally Reviewed ED Logs for “Missed Admissions”
20                       and Confronted ED Physicians With Them.

21           91.   Reddy, along with other Prime executives and ED directors, reviewed ED
22    patient census logs to determine if physicians had passed up opportunities to admit
23    Medicare beneficiaries to the hospital as inpatients. The ED logs included, among other
24    things, each ED patient’s name, gender, age, mode of transportation to the ED, insurance
25    status, and the name of ED physician who saw the patient.
26           92.   Reddy taught Prime management -- including some individuals who had no
27    medical training -- and ED Directors how to scour the ED logs for “missed admissions.”
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                                                    25
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 1    But Reddy himself personally reviewed ED logs from the Defendant Hospitals on a
 2    regular basis.
 3          93.    Reddy would circle as “missed admissions” the insured patients that he felt
 4    could have been admitted to the hospital. He then circulated his marked-up logs to each
 5    hospital ED Director. The ED Director was tasked with tracking down the physician to
 6    discuss each discharge Reddy questioned and get the physician’s justification for not
 7    admitting an insured patient. Many times, Reddy personally spoke with an ED physician
 8    who discharged a Medicare beneficiary to “educate” him about the reasons why the
 9    patient should have been admitted.
10                           a. ED Directors and Physicians Were Troubled By Reddy’s ED
                                Log Reviews and Their Ramifications.
11
12          94.    Many ED physicians were troubled by Reddy’s practice of reviewing ED
13    logs and the feedback they received from Reddy as a result of it. Reddy’s feedback often
14    involved second-guessing the medical judgment of the ED physicians as to whether to
15    admit or discharge an insured patient. Several ED Physicians concluded that the ED log
16    reviews were intended to interfere with and alter their clinical judgment in favor of
17    admitting more Medicare beneficiaries and other insured patients to increase
18    reimbursements to Defendants. Some questioned Reddy’s qualifications to conduct such
19    reviews, given that he had trained to be a cardiologist, not an ED physician. Physicians
20    reported feeling pressured and browbeaten by Reddy and ED Directors over the “missed
21    admissions.”
22          95.    The quest to identify “missed admissions” turned, at times, into sport. An
23    email from a former Prime executive to an ED Director proposed a wager of two bottles
24    of wine against two tickets to a professional basketball game if the ED Director
25    identified 30 additional patients discharged during the month of May 2008 that could
26    have been admitted.
27
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                                                  26
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 1          96.    But pressure to avoid “missed admissions” was also applied in other, less
 2    sporting ways. In January 2009, for example, an ED log review for Defendant Montclair
 3    Hospital Medical Center flagged certain patients that Prime management concluded
 4    could have been admitted. The ED physician defended his decisions, stating that “none
 5    of the patients had a medical condition requiring admission.” The ED Director
 6    continued to press the issue, but the physician insisted that “these patients did not have
 7    final diagnosis that required admission.”
 8          97.    A month later, on February 1, 2009, the same physician was questioned
 9    again about his decision not to admit a patient, this time a 72-year-old Medicare
10    beneficiary who presented with chest pain. In an email exchange with the ED Director,
11    the physician concluded that “they would have to agree to disagree.” The ED Director
12    then emailed another physician stating that the physician who stood his ground is not
13    “interested or [doesn’t] care[] [about] the goals we are trying to achieve.”
14          98.    At Defendant Shasta Regional Medical Center, Prime even resorted to
15    posting the ED patient log containing Reddy’s highlights of missed Medicare admissions
16    in plain view on the door of the physician lounge.
17          99.    Some ED Directors expressed frustration with the constant pressure to
18    admit patients with minor ailments and with Reddy’s constant oversight and scrutiny of
19    the medical judgment of the physicians. An ED Director claimed that he would start
20    circling his own census report so Reddy “won’t find the need to circle every cold and
21    kidney stone.” Another ED Director complained that Reddy “now wants to admit Otitis
22    Externa and Cystitis.” Otitis Externa is the medical term for an ear infection. Cystitis is
23    the medical term for simple urine infection. Yet another expressed concern in 2008,
24    after reviewing an ED log that included Reddy’s circles on patients with “colds, back
25    pains and simple UTI’s and simple gastroenteritis,” that Reddy wanted to meet with the
26    physicians to “scare the crap into the group.”
27
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 1          100. Physicians saw firsthand the consequences to patients of the pressure to
 2    admit that Prime applied to ED Directors and physicians. In April 2009, for example,
 3    when management questioned a physician’s decisions to discharge two elderly patients,
 4    the physician explained in an email that “we really cannot admit patients for minor
 5    medical problems related to delays in lab and x-ray.” The physician reported that
 6    patients had complained of being admitted for no reason and that others had stated that
 7    “when they were admitted, nothing was done for them.”
 8                       b.     Physicians Who Caused “Missed Admissions” Were Criticized
                                and In Jeopardy Of Losing Their Jobs.
 9
10          101. Reddy and Prime targeted low admitters and threatened to have them taken
11    off the ED work schedule. In January 2009, for example, Reddy emailed an ED
12    Director and remarked that a certain physician “does not fit in this model as he continues
13    to have problems with admitting patients to the hospital for work up rather than working
14    them up completely in the ER.”
15          102. Similarly, on December 19, 2008, the Chief Medical Officer at Chino
16    Valley Medical Center emailed an ED Director to complain about a physician: “[H]e
17    sent away a Medicare admission … Get rid of this guy he does not fit in here.”
18          103. And at Defendant Shasta Regional Medical Center, Prime management
19    singled out certain doctors as candidates for termination because they sent too many
20    Medicare and Medi-Cal patients home when, in Prime’s view, they could have admitted
21    them to the hospital.
22                 4.    Prime “Doctored” Widely Used Admission Criteria to Make
23                       Inpatient Admission More Likely.

24          104. Milliman Care Guidelines, LLC, (MCG) is a Seattle-based company that
25    independently develops, produces and sells evidence-based clinical guidelines and
26    software that are updated annually (Milliman Guidelines). MCG promotes the Milliman
27    Guidelines as a tool for “avoiding underuse or overuse of medical resources” and as a
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 1    shared point of reference for providers and health plans when discussing medical
 2    necessity and coverage.
 3          105. The Milliman Guidelines encompass several different sets of guidelines that
 4    address different stages along the continuum of care, including, among others,
 5    Ambulatory Care (which pertains to outpatient care), Inpatient & Surgical Care and
 6    Multiple Condition Management.
 7          106. Health care providers across the county, including hospitals, use the
 8    Milliman Guidelines to inform and document clinical decision-making about, among
 9    other things, medical necessity and level of care. Public and private health insurers use
10    them, too. For example, CMS specifies that the Milliman Guidelines or other screening
11    tools should be used by Quality Improvement Organizations (QIOs) and Medicare
12    Administrative Contractors (MACs). These organizations are government contractors
13    that perform Medicare healthcare quality and utilization reviews. QIOs work to improve
14    the quality of beneficiary care, and QIOs and MACs oversee inpatient hospital payment
15    reviews.
16                          a. Prime Chose the Milliman Guidelines Because It Perceived
                               Them As More Lenient Than the Alternative.
17
18          107. On January 24, 2009, Prime’s Director of Reimbursement Management,
19    Ajith Kumar, told other members of Prime management in an email that Prime would
20    soon begin to contract with MCG in order “to use Milliman Care [] Guidelines as a
21    standard reference for inpatient admission criteria and other standards of care.” He
22    further stated that the Milliman Guidelines “will be the guidelines that we use to defend
23    our admissions to [government auditors] or any other entity.”
24          108. Kumar acknowledged in that email that Prime was choosing to subscribe to
25    the Milliman Guidelines over those published by a competitor known as Interqual.
26    Kumar stated that, because Interqual’s guidelines are produced “for insurance
27
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                                                  29
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 1    companies, the criteria of inpatient admission are too stringent and inpatient admissions
 2    are easily denied.”
 3              109. Kumar further stated that “[w]e will not be able to defend more than half of
 4    our admissions if we use Interqual.”
 5              110. Reddy evidently shared Kumar’s view that the Milliman Guidelines would
 6    help Prime increase inpatient admissions. The founder and chief executive officer of
 7    Emergent Medical Associates described in a February 9, 2009, email a lecture by Reddy
 8    that he had attended the night before. During the lecture, Reddy, in the attendee’s words,
 9    “referenced upon many occasions Mill[i]m[a]n as being more liberal and better for
10    Prime.” Emergent Medical Associates provides ED doctors that staff the EDs at several
11    Prime hospitals in southern California.
12                          b.     Prime Altered the Milliman Guidelines to Make Inpatient
                                   Admission More Likely.
13
14              Even the less “stringent,” “more liberal” Milliman Guidelines were not lenient
15    enough to satisfy Prime. Prime systematically altered the Milliman Guidelines before
16    making them available for use in hospitals Prime operates in California. The alterations
17    took different forms. But the alterations consistently made inpatient admission more
18    likely.
19              111. In some instances, Prime omitted information from the Milliman
20    Guidelines, including but not limited to criteria pertaining to less costly alternatives to
21    inpatient admission. For example, the Milliman Guidelines for Abdominal Pain and
22    Chest Pain each includes a set of “Alternatives to Admission.” Prime’s medical record
23    for an inpatient admission of a Medicare beneficiary in June 2008 to Defendant Chino
24    Valley Medical Center included a set of guidelines pertaining to abdominal pain that
25    largely tracked the corresponding Milliman Guideline, M05, but entirely omitted the
26    “Alternatives to Admission.” Those “Alternatives to Admission,” had Prime not deleted
27    them, would have included treatment and evaluation protocols that could be carried out
28
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 1    as “[o]utpatient care in emergency department, rapid treatment site, urgent care center, or
 2    medical office” as well as “[o]bservation” and “[h]ome care.”
 3           112. Similarly, the medical record of a Medicare beneficiary admitted on July
 4    28, 2009, to Defendant West Anaheim Medical Center included a set of guidelines
 5    pertaining to chest pain that largely tracked the corresponding Milliman Guideline, M-
 6    89, but entirely omitted the “Alternatives to Admission,” which included treatment and
 7    evaluation protocols that could be carried out in an “[e]mergency department, chest pain
 8    center or rapid treatment site . . . .”
 9           113. That same set of guidelines also expanded one of the criteria that Milliman
10    Guideline M89 identifies as supporting admission. Milliman Guideline M89 identifies
11    the “[i]nability to perform evaluation of a patient with possible A[cute] C[oronary]
12    S[yndrome] . . . in the emergency department, chest pain center or other location capable
13    of performing patient observation and evaluation” as a criteria supporting inpatient
14    admission. But the guidelines found in the record of the July 28, 2009, admission
15    narrow the potential evaluation sites to only “the emergency department,” deleting
16    “chest pain center or other location capable of performing patient observation and
17    evaluation” as options. When coupled with Reddy’s directive that insured patients
18    should be allowed to remain in the ED no more than two hours before being admitted as
19    an inpatient, this alteration significantly increased the likelihood of inpatient admission
20    for Medicare beneficiaries presenting to the ED with chest pain.
21           114. Similarly, the medical record of a Medicare beneficiary admitted on March
22    22, 2012, to Alvarado Hospital Medical Center included a set of guidelines pertaining to
23    inpatient admission for cellulitis -- a bacterial infection of the skin and tissues beneath it
24    -- that largely tracked the corresponding Milliman Guideline, M70. The guidelines in
25    the record entirely omitted the Milliman Guideline’s “Alternatives to Admission.” And
26    the guidelines in the record also excluded from M70 the definition of “[s]evere pain
27    requiring acute inpatient management,” which is defined in the Milliman Guideline as
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                                                    31
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 1    being both “[c]ontinuous and frequent (e.g. every 2 to 4 hours parenteral analgesics
 2    required)” and having an expectation of “[r]apid improvement . . . from treatment or
 3    acute intervention (e.g. surgery, anesthesia procedure).” By removing alternatives to
 4    inpatient admission and leaving the term “severe” open to interpretation, Prime’s altered
 5    guidelines made inpatient admission for cellulitis more likely.
 6          115. In other instances, Prime added criteria beyond those identified in the
 7    corresponding Milliman Guideline as sufficient to justify inpatient admission. In
 8    guidelines for abdominal pain, chest pain, transient ischemic attack and renal failure
 9    found in medical records of Medicare beneficiaries, for example, Prime had added an
10    entirely open-ended admission criteria of “Other” that was not included in the
11    corresponding Milliman Guidelines, M05, M89, M360 and M325, respectively. And
12    Prime added at least three additional criteria supporting inpatient admission for chest
13    pain that are not found in the corresponding Milliman Guideline, M89: “significant
14    E[lectrocardiogram] change,” “hemodynamic abnormality,” and “left bundle branch
15    block.”
16                        c.    Prime Misled Physicians and Regulators Into Believing the
                                Guidelines Used at Prime Hospitals Were Authentic Milliman
17
                                Guidelines.
18
19          116. Prime was contractually obligated under its license agreement with MCG to
20    include a disclosure on the face of any Milliman Guideline that Prime modified. Most or
21    all of the altered guidelines included the statement that “[p]ortions of the [Milliman
22    Guidelines] content which have been revised are identified through the use of italic text.”
23    But Prime rarely, if ever, actually followed through to call out, via italics or otherwise,
24    the alterations and omissions it made.
25          117. In so doing, Prime caused its physicians, staff and auditors to believe that
26    the guidelines Prime supplied were the same standards relied upon by other hospitals and
27    by insurers throughout the United States. They were not.
28
                                                   32
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 1          118. Reddy testified under oath in 2014 that “[i]t would be illegal” to alter the
 2    Milliman Guidelines and then disseminate them for use in Prime hospitals.
 3          119. And when challenged by CMS on the medical necessity of an inpatient
 4    admission, Prime expressly assured CMS that inpatient admission was “justified . . .
 5    using industry standard guidelines,” because “[t]he physician . . . used Milliman Care
 6    Guidelines . . . , which are well-accepted admission guidelines, to assist in his/her
 7    decision.”
 8          120. Prime has exploited the existence and acceptance of “industry standard
 9    guidelines” to not only stack the deck in favor of inpatient admission but also conceal
10    from regulators and others who questioned Prime’s tactics Prime’s commitment to
11    maximizing its return on every patient without regard to widely accepted standards of
12    medical necessity.
13                 5.      Prime’s Business Model Infected Its Appeals to Administrative
                           Law Judges.
14
15          121. Reddy often assured physicians that they did not need to worry about
16    having their inpatient admission decisions overturned by Medicare contractors such as
17    MACs and RACs. Reddy and Kumar advised physicians that Prime had adopted an
18    aggressive strategy that involved appealing all denials of payment for inpatient hospital
19    services.
20          122. During a meeting in 2011, Reddy coached physicians on how to embellish
21    patient medical records to make it appear that patients were sicker than they actually
22    were and therefore, their admissions were justified. Reddy told physicians that when
23    they were admitting, they should always try to put something in the medical record that
24    embellished the reasons for admission. Reddy specifically explained that the reason to do
25    this was to persuade an administrative law judge (ALJ) who would decide the appeal of
26    any claim that was denied.
27
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                                                   33
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 1          123. Reddy was referring to ALJs employed by the Office of Medicare Hearing
 2    and Appeals (OMHA), who review claim denials of Medicare claims. ALJs are trained
 3    as attorneys, and do not typically have a medical background.
 4          124. Reddy often told physicians that whatever they included in the medical
 5    records would eventually be viewed by an ALJ and joked that physicians could easily
 6    fool the ALJ by documenting several co-existing conditions to make the patient’s
 7    condition seem more grave and complex. For example, during a 2012 meeting with
 8    physicians, Prime executives and medical personnel at Alvarado Hospital, Reddy
 9    described how physicians could mislead an ALJ by documenting several comorbid
10    conditions that were not relevant to the admission to make the patient’s condition appear
11    more complex.
12                 6.    Defendants’ Knowledge of Their Submission of False Claims and
                         False Certifications
13
14          125. At all times pertinent to this complaint, Defendants were aware of CMS’
15    guidance regarding when Medicare payment for an inpatient admission was appropriate,
16    and when to bill Medicare for observation services. Defendants were aware that nursing
17    and medical care and diagnostic testing can be provided and billed as observation
18    services when needed to determine whether a Medicare beneficiary’s condition required
19    inpatient admission instead of admitting a beneficiary whenever evaluation of her
20    condition would take longer than an ED visit.
21          126. Defendants submitted claims to Medicare on Form UB-92 HCFA-1450 and
22    Form UB-04 CMS-1450. For inpatient services Defendant Hospitals submitted an
23    inpatient claim form (Type of Bill 11X). For observation services Defendant Hospitals
24    should have submitted an outpatient claim form (Type of Bill 13X).
25          127. Each claim form contains an express certification by the provider. For
26    example, claims submitted on Form UB-04 CMS-1450, the hospital contain an express
27    certification that, among other things:
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                                                 34
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 1          “the billing information as shown on the face hereof is true, accurate and
            complete”;
 2
 3          and
 4
            “the submitter did not knowingly or recklessly disregard or misrepresent or
 5          conceal material facts.”
 6
            128. Defendants knew that it was material to Medicare’s decision to pay
 7
      inpatient claims whether inpatient services were reasonable and necessary for the
 8
      patient’s health, as opposed to observation services, as well as whether inpatient services
 9
      were provided.
10
            129. Defendants knew that to bill Medicare for observation services they should
11
      submit an outpatient claim (Type of Bill 13X) listing the appropriate HCPCS codes that
12
      map to an APC for the care that was furnished to the patient instead of billing on an
13
      inpatient claim form (Type of Bill 11X).
14
            130. By submitting inpatient claim forms using ICD-9-CM codes that map to a
15
      DRG that are used exclusively for inpatient admissions that they were representing to
16
      Medicare that the patient required inpatient admission.
17
            131. Defendants knew that they submitted inpatient claims to Medicare using
18
      ICD-9-CM codes that map to a DRG representing that inpatient admission was necessary
19
      and that inpatient services were provided for patients who did not require inpatient
20
      admission and who either (a) received only observation services; or (b) who received
21
      medically unnecessary inpatient services.
22
            132. Defendants chose to not order or bill for observation services when they
23
      were clinically appropriate for financial reasons. As a foreseeable consequence of this
24
      decision, Defendants submitted false claims to Medicare for higher-paid inpatient
25
      admissions when only observation services were provided to beneficiaries. The
26
      certifications on each such claim that the billing information was true, accurate and
27
      complete, and that “the submitter did not knowingly or recklessly disregard or
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                                                  35
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 1    misrepresent or conceal material facts” were false because the patient’s medical
 2    condition did not require inpatient admission and the care actually provided was
 3    consistent with observation services or treatment.
 4          133. In addition to the interim patient-specific claim payments, hospitals are
 5    required to annually submit a Medicare Cost Report. The Medicare Cost Report
 6    determines a provider’s Medicare reimbursable costs for a fiscal year. 42 U.S.C. §
 7    1395g(a); 42 C.F.R. §413.20. The cost report is the provider’s final claim for payment
 8    from the Medicare program for the services rendered to all program beneficiaries for a
 9    fiscal year. Medicare relies on the Medicare Cost Report to determine whether the
10    provider is entitled to more reimbursement than already received through interim
11    payments, or whether the provider has been overpaid and must reimburse Medicare for
12    the overpayment. 42 C.F.R. §§ 405.1803, 413.60 and 413.64(f)(1).
13          134. Each Medicare Cost Report contains an express certification that must be
14    signed by the chief hospital administrator or a responsible designee of the administrator.
15          135. The Medicare Cost Report Certification, which is a preface to the cost
16    report’s certification, provides the following prominent warning:
17          MISREPRESENTATION OR FALSIFICATION OF ANY INFORMATION
            CONTAINED IN THIS COST RPEORT MAY BE PUNISHABLE BY
18          CRIMINAL, CIVIL AND ADMINISTRATIVE ACTION, FINE AND/OR
            IMPRISONMENT UNDER FEDERAL LAW. FURTHERMORE, IF
19          SERVICES IDENTIFIED IN THIS REPORT WERE PROVIDED OR
            PROCURED THROUGH THE PAYMENT DIRECTLY OR INDIRECTLY
20          OF A KICKBACK OR WERE OTHERWISE ILLEGAL, CRIMINAL,
            CIVIL AND ADMINISTRATIVE ACTION, FINES, AND/OR
21          IMPRISONMENT MAY RESULT.
22    This advisory is followed by the actual certification language itself:
23          CERTIFICATION BY OFFICER OR ADMINISTRATOR OF PROVIDER
            I HEREBY CERTIFY that I have read the above statement and that I have
24          examined the accompanying electronically filed or manually submitted cost
            report and the Balance Sheet and Statement of Revenue and Expenses
25          prepared by [name of facility, ID number of facility] for the cost reporting
            period beginning [date] and ending [date] and that to the best of my
26          knowledge and belief, it is a true, correct and complete statement prepared
            from the books and records of the provider in accordance with applicable
27          instructions, except as noted. I further certify that I am familiar with the
            laws and regulations regarding the provision of the health care services, and
28
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 1          that the services identified in this cost report were provided in compliance
            with such laws and regulations.”
 2
 3    CMS Form 2552, Medicare Cost Report.
 4          136. Each Defendant Hospital executed and submitted a hospital cost report to
 5    Medicare annually which contained the above-quoted certification. The certifications
 6    were false in that the cost reports included inpatient days associated with paid inpatient
 7    claims that should have been billed as outpatient observation services or outpatient
 8    treatment, in violation of the Medicare law, regulations and Manual guidance regarding
 9    billing for inpatient services.
10          137. At all times relevant to this complaint, Defendants received
11    communications and guidance from MACs and other Medicare contractors regarding
12    appropriate billing for observation and inpatient services including, but not limited to,
13    thousands of claims that were denied on either pre-pay or post-pay review.
14          138. At all times relevant to this complaint, Defendants understood and
15    disregarded Medicare laws, regulations and program instructions regarding the use of
16    observation services and the medical necessity of inpatient services.
17          139. Defendants knew that the claims and certifications that they submitted, or
18    caused to be submitted, to Medicare were false, or else deliberately ignored, and/or were
19    recklessly indifferent to, the truth or falsity of those certifications and claims.
20          B.     Defendants Submitted or Caused the Submission of Inpatient Claims
                   for Outpatient-Level Care or Medically Unnecessary Inpatient Care.
21
22          140. Defendants have knowingly submitted or caused to be submitted false or
23    fraudulent claims to Medicare on Form UB-92 HCFA-1450 or on Form UB-04 CMS-
24    1450, with Type of Bill 11X indicated, signifying that inpatient services were provided,
25    when the hospital planned and provided only outpatient-level care. Such claims have
26    originated from each of the fourteen Defendant Hospitals. The following are illustrative
27    examples of paid claims where a review of the medical records, taken at face value,
28
                                                    37
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 1    indicates that the inpatient services billed to Medicare should have been billed as either
 2    observation services or an ED visit.
 3          141. Defendants knowingly submitted or caused to be submitted a false or
 4    fraudulent claim to Medicare for Patient A, 1 an 81-year-old Medicare beneficiary who
 5    presented to Defendant Alvarado Hospital on December 24, 2010, complaining of a
 6    cough and was discharged the next day. Her symptoms were consistent with chronic
 7    respiratory failure and other pre-existing conditions, including chronic obstructive lung
 8    disease, that were noted in the record. She had a history of reliance on supplemental
 9    oxygen. She was given supplemental oxygen in the ED, which increased her oxygen
10    saturation from 91% to 97%. She was treated with an antibiotic for suspected bronchitis
11    but was discharged a day later with no instructions to continue it. Given her chronic
12    conditions, her vital signs and symptoms did not support a diagnosis of acute respiratory
13    failure necessitating interventions such as intubation or supportive ventilation, and none
14    were provided. The care the hospital planned and provided was consistent with
15    observation services. But defendants billed Medicare $14,128.65 for an inpatient
16    admission on an inpatient type of bill for which Defendant Alvarado Hospital collected
17    $8,112.58 from Medicare for DRG 189, which corresponds to pulmonary edema and
18    respiratory failure. This claim was false or fraudulent because Defendant Alvarado
19    Hospital’s medical records for the admission demonstrate that observation services were
20    provided and should have been billed to Medicare, but defendants instead billed
21    Medicare for an unnecessary inpatient admission.
22          142. Defendants knowingly submitted or caused to be submitted a false or
23    fraudulent claim to Medicare for Patient B, a 77-year-old Medicare beneficiary who
24    presented to Defendant Encino Hospital on October 1, 2012, after fainting in a hot,
25    outdoor environment at an adult day care facility. He was discharged the next day. The
26
27          1
             The identities of individual Medicare beneficiaries discussed herein have been
28    withheld to protect their privacy. Their identities will be made available to Defendants.
                                                  38
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 1    emergency medical technician who arrived at the hospital with Patient B reported that
 2    Patient B was alert on arrival. His vital signs were normal, and no significant physical
 3    findings were noted. Patient B received fluids intravenously to address mild
 4    dehydration. His fainting was suspected to be due to a vasovagal episode, a common
 5    condition that is mild and usually does not lead to harm or further complications. These
 6    episodes are triggered by, among other things, prolonged standing, heat exposure or the
 7    sight of blood. Patient B had no further episodes and was discharged the following
 8    morning. His medical record includes an order to change Patient B’s from an inpatient
 9    to an outpatient receiving observation services that was written at the time of discharge,
10    approximately 18 hours after admission. But defendants billed Medicare $14,116.10 for
11    an inpatient admission on an inpatient type of bill for which Defendant Encino Hospital
12    collected $4,263.42 from Medicare for DRG 312, which corresponds to syncope and
13    collapse. This claim was false or fraudulent because Defendant Encino Hospital’s
14    medical records for Patient B demonstrate recognition by the patient’s treating physician
15    that observation care was provided and should be billed to Medicare, but defendants
16    instead billed Medicare for an unnecessary inpatient admission.
17          143. Defendants knowingly submitted or caused to be submitted a false or
18    fraudulent claim to Medicare for Patient C, a 71-year-old Medicare beneficiary who
19    presented to Defendant Huntington Beach Hospital on May 25, 2008, with a complaint
20    of dizziness and was sent home the next morning. On arrival, she felt nauseous and
21    lightheaded, had vomited and had a history of diabetes. In the ED, her vital signs were
22    normal and she was treated with an anti-nausea medicine. The results of her
23    electrocardiogram test, used to detect problems with the electrical activity of the heart,
24    her laboratory studies, and a computerized scan of her head were all unremarkable. She
25    was nevertheless admitted as an inpatient with a plan of care that consisted of
26    observation and evaluation with additional laboratory tests. No further diagnostic
27    studies or therapeutic interventions were planned. An inpatient admission was not
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                                                   39
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 1    indicated for the brief period of observation the hospital provided to Patient C. But
 2    defendants billed Medicare $9,258.64 for an inpatient admission on an inpatient type of
 3    bill for which Defendant Huntington Beach Hospital collected $3,650.74 from Medicare
 4    for DRG 312, which corresponds to syncope and collapse. This claim was false or
 5    fraudulent because Defendant Huntington Beach Hospital’s medical records for Patient
 6    C demonstrate that observation services were provided and should have been billed to
 7    Medicare, but defendants instead billed Medicare for an unnecessary inpatient
 8    admission.
 9          144. Defendants knowingly submitted or caused to be submitted a false or
10    fraudulent claim to Medicare for Patient D, a 76-year-old Medicare beneficiary who
11    presented to Defendant Sherman Oaks Hospital on July 29, 2008, with a reported
12    concern from the care facility where she lived that she had a facial droop. She had a
13    history of advanced Alzheimer’s dementia and she was bedridden, confused and unable
14    to follow directions. Her vital signs were normal and her physical examination was
15    described to be at her baseline, with no evidence of a facial droop. Her laboratory
16    studies were unremarkable and a computerized scan of her head showed significant
17    atrophy in her brain. The plan of care was to discharge her back to the care facility. But
18    she was ordered put on inpatient status late in the evening on July 29, 2008. She was
19    treated with an aspirin and no further diagnostic study or therapeutic intervention was
20    planned or performed. She was discharged back to the care facility the next day. But
21    defendants billed Medicare $7,615.85 for an inpatient admission on an inpatient type of
22    bill for which Defendant Sherman Oaks Hospital collected $4,292.28 from Medicare for
23    DRG 069, which corresponds to transient ischemia. This claim was false or fraudulent
24    because Defendant Sherman Oaks Hospital’s medical records for Patient D demonstrate
25    that observation services were provided and should have been billed to Medicare, but
26    defendants instead billed Medicare for an unnecessary inpatient admission.
27
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 1          145. Defendants knowingly submitted or caused to be submitted a false or
 2    fraudulent claim to Medicare for Patient E, a 78-year-old Medicare beneficiary who
 3    presented to Defendant Desert Valley Hospital on March 9, 2012, with vomiting,
 4    diarrhea, and general weakness following a colonoscopy nine days prior. The ED doctor
 5    stated she was in “no apparent distress” and had normal bowel sounds and made no
 6    mention of abdominal tenderness. She had no fever. An elevated blood pressure of
 7    203/107 was noted at the time of the hospital’s triage assessment, but subsequent
 8    readings were lower, ranging from 126-144 over 83-99. She was treated with broad-
 9    spectrum antibiotics for possible early pneumonia and a chest x-ray was performed. By
10    the following morning, a progress note stated that all symptoms had resolved. An order
11    for discharge was written approximately 24 hours after her arrival in the ED, with a
12    discharge diagnosis of viral gastroenteritis, also known as the stomach flu. The care the
13    hospital planned and provided was consistent with observation services. But defendants
14    billed Medicare $10,444.78 for an inpatient admission on an inpatient type of bill for
15    which Defendant Desert Valley Hospital collected $3,980.62 from Medicare for DRG
16    392, which corresponds to esophagitis, gastroenteritis and miscellaneous digestive
17    disorders. This claim was false or fraudulent because Defendant Desert Valley
18    Hospital’s medical records for Patient E demonstrate that observation services were
19    provided and should have been billed to Medicare, but defendants instead billed
20    Medicare for an unnecessary inpatient admission.
21          146. Defendants knowingly submitted or caused to be submitted a false or
22    fraudulent claim to Medicare for Patient F, a 64-year-old Medicare beneficiary who
23    presented to Defendant Paradise Valley Hospital on September 12, 2007, and was
24    discharged the next day. She complained of a two-day history of vertigo, which is a loss
25    of balance or spinning sensations, with headache, similar to other headaches she had
26    previously experienced. Her medical history included high blood pressure,
27    cardiomyopathy, anxiety, and depression. There were no significant findings in the ED.
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 1    The admitting doctor noted that Patient F had been seen multiple times for similar
 2    symptoms. Her vertigo was described on the admission note as resolved. The plan of
 3    care was to continue to observe Patient F for 12 to 24 hours. But defendants billed
 4    Medicare $9,184.16 for an inpatient admission on an inpatient type of bill and Defendant
 5    Paradise Valley Hospital collected $5,166.41 from Medicare for DRG 065, which
 6    corresponds to disequilibrium. This claim was false or fraudulent because Defendant
 7    Paradise Valley Hospital’s medical records for Patient F demonstrate that observation
 8    services were provided and should have been billed to Medicare, but defendants instead
 9    billed Medicare for an unnecessary inpatient admission.
10          147. Defendants knowingly submitted or caused to be submitted a false or
11    fraudulent claim to Medicare for Patient G, a 74-year-old Medicare beneficiary who
12    presented to Defendant Garden Grove Medical Center on April 20, 2009, and was
13    discharged the next day. She complained of abdominal pain and weakness. She had
14    been admitted to the hospital and evaluated for chest pain and abdominal pain earlier in
15    the same month. At that time, she had undergone a computerized scan of the abdomen
16    and pelvis, an endoscopy and a stress test. On April 20, 2009, her vital signs were
17    unremarkable, she had no fever and her abdominal examination showed only mild
18    tenderness. Her laboratory studies were unremarkable. She did not require pain
19    medication and was treated with an anti-acid medication. Her abdominal discomfort was
20    assessed to be “nonspecific” and her plan of care consisted only of a colonoscopy and
21    discharge. Colonoscopies are routinely performed on an outpatient basis. Neither
22    inpatient admission nor even observation services were necessary to complete a
23    colonoscopy for an otherwise stable patient like Patient G. But defendants billed
24    Medicare $13,407.04 for an inpatient admission on an inpatient type of bill for which
25    Defendant Garden Grove Medical Center collected $6,642.43 from Medicare for DRG
26    392, which corresponds to esophagitis, gastroenteritis and miscellaneous digestive
27    disorders. This claim was false or fraudulent because Defendant Garden Grove Medical
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 1    Center’s medical records for Patient G demonstrate that an ED visit was all that should
 2    have been provided and billed to Medicare, but defendants instead billed Medicare for an
 3    unnecessary inpatient admission, including medically unnecessary services.
 4          148. Defendants knowingly submitted or caused to be submitted a false or
 5    fraudulent claim to Medicare for Patient H, an 84-year-old Medicare beneficiary who
 6    presented to Defendant Centinela Hospital Medical Center on March 8, 2011, with a
 7    complaint of intermittent chest pain lasting two days. She was discharged the next day.
 8    She had a history of diabetes and hypertension, but she was not tachycardic or
 9    hypertensive – i.e., her heart was not racing and her blood pressure was not elevated.
10    Her oxygenation and respiratory rate were normal and her vital signs were stable. An
11    electrocardiogram and cardiac enzyme test were performed. A cardiologist examined
12    her and concluded that the pain was pleuritic, a condition that involves inflammation of
13    the tissue lining the lungs and inner chest wall and can cause chest pain, because it
14    worsened with breathing. Her signs and symptoms upon presentation, together with the
15    stated plan of care – evaluation by a cardiologist -- were predictive of a short hospital
16    stay and did not require an inpatient admission. But defendants billed Medicare
17    $22,502.71 for an inpatient admission on an inpatient type of bill and Defendant
18    Centinela Hospital Medical Center collected $5,074.07 from Medicare for DRG 392,
19    which corresponds to esophagitis, gastroenteritis and miscellaneous digestive disorders.
20    This claim was false or fraudulent because Defendant Centinela Hospital Medical
21    Center’s medical records for Patient H demonstrate that observation services were
22    provided and should have been billed to Medicare, but defendants instead billed
23    Medicare for an unnecessary inpatient admission.
24          149. Defendants knowingly submitted or caused to be submitted a false or
25    fraudulent claim to Medicare for Patient I, a 50-year-old Medicare beneficiary who
26    presented to the ED at Defendant West Anaheim Medical Center on July 28, 2009,
27    complaining of chest pain that developed while she was seated in her car. She had a
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 1    history of diabetes mellitus, chronic obstructive pulmonary disease, and use of
 2    methamphetamine, cocaine, and tobacco. In the ED, her vital signs were unremarkable.
 3    An electrocardiogram performed there was unchanged versus her prior cardiology
 4    evaluations that found no cardiac disease. Her toxicology screen was positive for
 5    methamphetamine. She was treated in the ED with nitroglycerin and aspirin. She was
 6    nevertheless admitted, with a plan of care that consisted of continuing her home
 7    medications, completing an additional cardiac marker and obtaining a cardiology
 8    consultation. No additional therapeutic interventions were planned or provided. Her
 9    cardiologist saw her the next day and, because she already had a scheduled outpatient
10    cardiology evaluation, no further diagnostic study was pursued. She was discharged on
11    July 30, 2009. Her presenting signs and symptoms and her plan of care were predictive
12    of a short hospital stay that did not require an inpatient admission. But defendants billed
13    Medicare $11,808.56 for an inpatient admission on an inpatient type of bill and
14    Defendant West Anaheim Medical Center collected $3,997.01 from Medicare for DRG
15    313, which corresponds to chest pain. This claim was false or fraudulent because
16    Defendant West Anaheim Medical Center’s medical records for Patient I demonstrate
17    that observation services were provided, and were the most that should have been billed
18    to Medicare, but instead Defendant West Anaheim Medical Center admitted Patient I,
19    provided medically unnecessary services, and billed Medicare for an unnecessary
20    inpatient admission.
21          150. Defendants knowingly submitted or caused to be submitted a false or
22    fraudulent claim to Medicare for Patient J, an 88-year-old Medicare beneficiary who
23    presented to Defendant La Palma Intercommunity Hospital on April 16, 2008. He
24    presented to the ED hours after he was discharged to a nursing home from a six-day stay
25    at the same hospital for treatment of pneumonia and pulmonary embolism, a blood clot
26    in the lungs. On returning to the hospital, he complained of chest pain. There were no
27    acute cardiopulmonary findings on examination, and the oxygenation of his blood was
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 1    an unremarkable 95% on room air, without supplemental oxygen. On evaluation, both
 2    the pulmonologist and the cardiologist who examined him indicated that the symptoms
 3    were unlikely to be related to coronary disease and that a pulmonary origin was
 4    suspected. He was discharged the following day to a nursing home. When a patient is
 5    readmitted to the same hospital on the same day for a related condition, the Medicare
 6    Claims Processing Manual directs the hospital to combine the charges into one hospital
 7    claim rather than create a new claim. But defendants billed Medicare $46,342.54 for the
 8    April 10, 2008 six day inpatient admission, and $10,937.22 for a second inpatient
 9    admission for the April 16, 2008 readmission and overnight stay. Defendant La Palma
10    Intercommunity Hospital collected $10,441.67 for April 10, 2008 admission for DRG
11    175, which corresponds to pulmonary embolism, and $4,447.08 for the overnight April
12    16, 2008, admission for DRG 313, which corresponds to chest pain. The latter claim
13    was false or fraudulent because Defendant La Palma Intercommunity Hospital’s medical
14    records for Patient J demonstrate that only observation services were provided and, in
15    any event, the patient’s continued care on April 16, 2008 was directly related to the
16    condition present at discharge earlier that day and, therefore, was not eligible to be billed
17    and paid as a separate inpatient admission.
18          151. Defendants knowingly submitted or caused to be submitted a false or
19    fraudulent claim to Medicare for Patient K, a 73-year-old Medicare beneficiary who
20    presented to Defendant Chino Valley Medical Center on April 26, 2012, after fainting.
21    She had recently been evaluated in an urgent care for nausea and diarrhea and was
22    standing in line to pick up her medication when she lost consciousness, fell backward
23    and was caught by a bystander. In the ED, she had no fever and her vital signs were
24    stable. Her abdominal examination and electrocardiogram were unremarkable and her
25    laboratory studies were normal. She was given intravenous fluids. A neurologist who
26    saw her the day she presented concluded the fainting resulted from her nausea and
27    diarrhea. Her gastrointestinal symptoms were attributed to gastroenteritis, also known
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 1    as the stomach flu. By the next day, April 27, 2012, Patient K was described as feeling
 2    better. She was discharged on April 28, 2013. Inpatient services for an episode of
 3    fainting were unnecessary in the absence of an underlying cardiac, neurologic or other
 4    serious condition. But defendants billed Medicare $27,302.41 for an inpatient admission
 5    on an inpatient type of bill and Defendant Chino Valley Medical Center collected
 6    $4,393.77 from Medicare for DRG 641, which corresponds to nutritional and
 7    miscellaneous metabolic disorders. This claim was false or fraudulent because
 8    Defendant Chino Valley Medical Center’s medical records for Patient K demonstrate
 9    that observation services provided and should have been billed to Medicare, but
10    defendants instead billed Medicare for an unnecessary inpatient admission.
11          152. Defendants knowingly submitted or caused to be submitted a false or
12    fraudulent claim to Medicare for Patient L, a 65-year-old Medicare beneficiary who
13    presented to Defendant San Dimas Community Hospital on March 16, 2013, with
14    uncontrolled hypertension, or high blood pressure, and a headache. She had a history of
15    hypertension and had been previously evaluated for headache. Her blood pressure was
16    elevated on arrival and came down after she received an oral anti-hypertensive medicine
17    in the ED. She was nevertheless admitted during the early morning hours on March 17,
18    2013. A cardiologist who examined her recommended discharge once her headache was
19    controlled. She presented with no neurologic deficits but was evaluated with an MRI of
20    the head and carotid Doppler studies. Neither showed any acute pathology. She was
21    discharged on March 18, 2013. An inpatient admission was not required to control her
22    blood pressure with oral anti-hypertensive medicine or to treat her headache with
23    analgesics. But Prime billed Medicare $28,796.25 for an inpatient admission on an
24    inpatient type of bill and Defendant San Dimas Community Hospital collected $3,233.27
25    from Medicare for DRG 305, which corresponds to hypertension . This claim was false
26    or fraudulent because Defendant San Dimas Community Hospital’s medical records for
27    Patient L demonstrate that observation services were provided and should have been
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 1    billed to Medicare, but defendants instead billed Medicare for an unnecessary inpatient
 2    admission.
 3          153. Defendants knowingly submitted or caused to be submitted a false or
 4    fraudulent claim to Medicare for Patient M, a 45-year-old Medicare beneficiary who
 5    presented to Defendant Montclair Hospital on December 27, 2008 and was discharged
 6    two days later, on December 29, 2008. She complained of sharp left-sided chest pain
 7    while eating. She reported dizziness and vomiting several hours prior to experiencing
 8    chest pain. She had a history of diabetes, hypertension, anxiety, and depression. Her
 9    white blood cell count was elevated and the ED reported a rapid heart rate, or
10    tachycardia, with a rate of 108. After receiving medicine orally, her blood pressure
11    decreased and then returned to normal. The cardiologist who examined Patient M noted
12    complete resolution of her symptoms. Her signs and symptoms upon presentation,
13    together with the stated plan of care – examination by a cardiologist -- were predictive of
14    a short hospital stay and did not require an inpatient admission. But defendants billed
15    Medicare $14,051.92 for an inpatient admission on an inpatient type of bill and
16    Defendant Montclair Hospital collected $3,760.63 from Medicare for DRG 313, which
17    corresponds to chest pain. This claim was false or fraudulent because Defendant
18    Montclair Hospital’s medical records for Patient M demonstrate that observation
19    services were provided and should have been billed to Medicare, but defendants instead
20    billed Medicare for an unnecessary inpatient admission.
21          154. Defendants knowingly submitted or caused to be submitted a false or
22    fraudulent claim to Medicare for Patient N, an 80-year-old Medicare beneficiary who
23    presented to Defendant Shasta Regional Medical Center on March 2, 2010, and was
24    discharged the next day. She presented with complaints of flushing, nausea, sweating,
25    shortness of breath and dizziness. Her past medical history was unremarkable. She was
26    described as being in no distress, with a mild elevation of her blood pressure. Her
27    oxygen saturation was reported to have been normal (100%) and her electrocardiogram
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 1    did not demonstrate any acute cardiac changes or evidence of an irregular heartbeat. She
 2    was hospitalized with a diagnosis of dizziness, lightheadedness and shortness of breath
 3    suspected to be due to a viral syndrome. At the time of her admission, Patient N had
 4    normal vital signs and no fever. She did not have objective findings of cardiac,
 5    neurologic or infectious disease. The additional diagnostic studies that were completed
 6    and the treatment she received – administration of anti-anxiety medicine -- did not
 7    require an inpatient admission. But defendants billed Medicare $5,036.28 for an
 8    inpatient admission on an inpatient type of bill and Defendant Shasta Regional Medical
 9    Center collected $3,936.28 from Medicare for DRG 312, which corresponds to syncope
10    and collapse. This claim was false or fraudulent because Defendant Shasta Regional
11    Medical Center’s medical records for Patient N demonstrate that observation services
12    were provided and should have been billed to Medicare, but defendants instead billed
13    Medicare for an unnecessary inpatient admission.
14          155. The 14 admissions described above all resulted in claims to Medicare that
15    were false because the inpatient admissions for which Prime and/or the 14 Defendant
16    Hospitals billed Medicare were medically unnecessary. Prime, Reddy and the 14
17    Defendant Hospitals submitted such claims, or caused them to be submitted, knowing
18    that Medicare does not reimburse providers for medically unnecessary services.
19          156. These fourteen claims are examples of a pattern of Prime’s hospitals in
20    California billing for inpatient services when only outpatient services were provided or
21    only outpatient services should have been provided and billed to Medicare.
22                                          COUNT I
                                     Against All Defendants
23                       False Claims Act: Presentation of False Claims
                      31 U.S.C. 3729(a)(1)(A), formerly 31 U.S.C. 3729(a)(1)
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25          157. Paragraphs 1-156 are incorporated by reference as though fully set forth
26    herein.
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 1          158. Defendants knowingly (as “knowingly” is defined by 31 U.S.C. 3729(b)(1))
 2    presented or caused to be presented false or fraudulent claims for payment or approval to
 3    the United States. Specifically, Defendants knowingly submitted false claims to
 4    Medicare on Forms UB-92 HCFA-1450, UB-04 CMS-1450, Type of Bill 11X
 5    signifying an inpatient claim, and CMS-2552 for payment of medically unnecessary
 6    inpatient short stay admissions that should have been classified and billed as
 7    outpatient/observation cases.
 8          159. By virtue of the said false or fraudulent claims, the United States incurred
 9    damages and therefore is entitled to multiple damages under the False Claims Act, plus a
10    civil penalty for each violation of the Act.
11                                          COUNT II
                                     Against All Defendants
12               False Claims Act: Making or Using False Records or Statements
                     31 § U.S.C. 3729(a)(1)(B) (formerly 31 U.S.C. 3729(a)(2))
13
14          160. Paragraphs 1-156 are incorporated by reference as though fully set forth
15    herein.
16          161. Defendants knowingly (as “knowingly” is defined by 31 U.S.C. 3729(b)(1))
17    made, used, or caused to be made or used, false records or statements material to false or
18    fraudulent claims paid or approved by the United States. Specifically, Defendants
19    knowingly made false statements to Medicare on Forms CMS-855A, CMS-8551, UB-92
20    HCFA-1450, UB-04 CMS-1450, Type of Bill 11X signifying an inpatient claim, and
21    CMS-2552, regarding, inter alia, Defendants’ compliance with Medicare requirements
22    and the accuracy of Defendants’ billing information and cost data.
23          162. By virtue of the said false records and statements, the United States incurred
24    damages.
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 1                                         COUNT III
                                     Against All Defendants
 2                          False Claims Act: Reverse False Claims
                    31 U.S.C. § 3729(a)(1)(G) (formerly 31 U.S.C. 3729(a)(7))
 3
 4          163. Paragraphs 1-156 are incorporated by reference as though fully set forth
 5    herein.
 6          164. Defendants knowingly (as “knowingly” is defined by 31 U.S.C. 3729(b)(1))
 7    made, used, or caused to be made or used, false records or statements material to an
 8    obligation to pay or transmit money or property to the United States.
 9          165. Defendants knowingly (as “knowingly” is defined by 31 U.S.C. 3729(b)(1))
10    concealed or improperly avoided or decreased an obligation to pay or transmit money or
11    property to the United States.
12          166. Defendants knowingly (as “knowingly” is defined by 31 U.S.C. 3729(b)(1))
13    made, used, or caused to be made or used, false records or statements to conceal, avoid
14    or decrease an obligation to pay or transmit money or property to the Government.
15          167. By virtue of the said false records, statements, or other acts of concealment,
16    the United States incurred damages.
17                                          COUNT IV
                                     Against All Defendants
18                               Restitution (Unjust Enrichment)
19          168. Paragraphs 1-156 are incorporated by reference as though fully set forth
20    herein.
21          169. Defendants have received money from Plaintiff United States to which
22    Defendants were not entitled, which unjustly enriched Defendants, and for which
23    Defendants must make restitution. Defendants received such money by claiming and
24    retaining Medicare payments for medically unnecessary inpatient short stay admissions
25    which should have been classified and billed as outpatient/observation cases. In equity
26    and good conscience, such money belongs to Plaintiff United States.
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 1          170. Plaintiff United States is entitled to recover such money or a portion of such
 2    money from each defendant named in the Claim for Relief in an amount to be
 3    determined at trial.
 4                                         COUNT V
                                   Against Defendant Hospitals
 5                                    Payment By Mistake
 6          171. Paragraphs 1-156 are incorporated by reference as though fully set forth
 7    herein.
 8          172. Plaintiff United States paid money to Defendants as a result of a mistaken
 9    understanding. Specifically, Plaintiff United States paid Hospitals Defendants’ claims
10    for Medicare reimbursement under the mistaken understanding that such claims were for
11    reimbursement for medically necessary inpatient services, when in fact, they were for
12    reimbursement for medically unnecessary inpatient short stay admissions which should
13    have been classified and billed as outpatient/observation cases. Had Plaintiff United
14    States known the truth, it would not have paid such claims. Payment therefore was by
15    mistake.
16          173. As a result of such mistaken payments, Plaintiff United States has sustained
17    damages for which each defendant named in the Claim for Relief in an amount to be
18    determined at trial.
19                                            PRAYER
20          WHEREFORE Plaintiff United States demands judgment as follows:
21          a.     On Counts I, II, and III (False Claims Act), against all Defendants jointly
22    and severally, for the amount of the United States’ damages, trebled as required by law,
23    together with the maximum civil penalties allowed by law, costs, post-judgment interest,
24    and such other and further relief as the Court may deem appropriate;
25          b.     On Count IV (Restitution), against all Defendants jointly and severally, for
26    an amount equal to the monies that Defendants obtained from the United States without
27    right and by which Defendants have been unjustly enriched, plus costs, pre-and post-
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 1    judgment interest, and such other and further relief as the Court may deem appropriate;
 2    and,
 3           c.    On Count V (Payment By Mistake), against each of the Defendant
 4    Hospitals, for an amount equal to the United States’ damages from each of them, plus
 5    costs, pre-and post-judgment interest, and such other and further relief as the Court may
 6    deem appropriate.
 7                                DEMAND FOR JURY TRIAL
 8           Plaintiff United States of America hereby demands a trial by jury.
 9
10     Dated: June 30, 2017                     Respectfully submitted,

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21                                              /s/
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27
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